WHEREFORE, IT IS ORDERED that this matter is REMOVED from the Full Commission docket for oral argument.  Accordingly, the Full Commission proceed to decide the appeal.
This matter comes before the undersigned upon plaintiff counsel's appeal of an attorney's fee awarded by Deputy Commissioner John Charles Rush in a May 13, 1993, Order Approving Compromise Settlement Agreement.  In that Order, Deputy Commissioner Rush awarded an attorney's fee of $5,140.00 out of the $25,700.00 total recovery.
It appears to the undersigned that the amount of $6,425.00, representing 25 percent of the total recovery is a fair and reasonable attorney's fee in light of the contingent fee contract (which provided for a 25 percent recovery with or without hearing) and in light of the amount of work which the record reflects on behalf of the attorney.
Accordingly, the Deputy Commissioner's Award of $5,140.00 is HEREBY REVERSED, and the sum of $6,425.00 is HEREBY AWARDED plaintiff's counsel.
This the ___________ day of _________________________, 1994.
                                  S/ _________________________ J. HOWARD BUNN, JR. CHAIRMAN
CONCURRING:
S/ _________________________ JAMES J. BOOKER COMMISSIONER
S/ _________________________ THOMAS J. BOLCH COMMISSIONER
JHB/nwm 12/06/94